     Case: 1:23-cv-00895 Document #: 59 Filed: 07/18/23 Page 1 of 3 PageID #:1627




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


CASIO COMPUTER CO., LTD.,

          Plaintiff,
                                                        Case No. 23-cv-895
v.
                                                        Judge Thomas M. Durkin
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

          Defendants.

                             DECLARATION OF MICHAEL A. HIERL


               I, Michael A. Hierl, of Chicago, Illinois, declare as follows:

     1.        I am an attorney at law, duly admitted to practice before the Courts of the State of

     Illinois and the United States District Court for the Northern District of Illinois. I am one of

     the attorneys for Plaintiff. Except as otherwise expressly stated to the contrary, I have

     personal knowledge of the following facts and, if called as a witness, I could and would

     competently testify as follows:

     2.        I hereby certify that the Defaulting Defendants (as defined in the accompanying

     Memorandum) have failed to plead or otherwise defend this action within the allotted time

     in violation of Federal Rule of Civil Procedure 12(a)(1)(A).

     3.        My office investigated the infringing activities of the Defaulting Defendants,

     including attempting to identify the registrant of each associated domain name and its

     contact information. Our investigation confirmed that the Defaulting Defendants are
  Case: 1:23-cv-00895 Document #: 59 Filed: 07/18/23 Page 2 of 3 PageID #:1628




  primarily domiciled in China. As such, I am informed and believe that the Defaulting

  Defendants are not active-duty members of the U.S. armed forces.

  4.     Exhibit 1 is an accurate copy of unpublished decisions cited in the corresponding

  Memorandum in Support of CASIO COMPUTER CO., LTD.’s Motion for Entry of Default

  and Default Judgment.

       I declare under penalty of perjury that the foregoing is true and correct.


DATED: July 18, 2023                                 /s/ Michael A. Hierl
                                                     Michael A. Hierl
                                                     Counsel for Plaintiff




                                                2
  Case: 1:23-cv-00895 Document #: 59 Filed: 07/18/23 Page 3 of 3 PageID #:1629



                             CERTIFICATE OF SERVICE
       The undersigned attorney hereby certifies that a true and correct copy of the

foregoing Declaration was electronically filed with the Clerk of the Court and served on all

counsel of record and interested parties via the CM/ECF system on July 18, 2023.

                                                 /s/ Michael A. Hierl
                                                 Michael A. Hierl




                                             3
